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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA
                                                    CRIMINAL NO. 17-602-CCB
        v.

 ERIC TROY SNELL

        Defendant.

                             MOTION IN LIMINE
              TO ADMIT TEXT MESSAGES FROM 11/7/2013 TO 9/29/2016

       The United States of America, by its undersigned counsel, hereby moves this Court in

limine to admit text messages between the Defendant and Lenard Palmer, an unindicted co-

conspirator of the Defendant, and text messages between Palmer and others relate to the sale of

narcotics from November 7, 2013, through September 29, 2016.

       Following the parties’ telephone status conference with the Court on October 26, 2018,

counsel for the Defendant informed counsel for the United States that the Defendant intended to

object to a series of text messages between the Defendant and an unindicted co-conspirator,

Lenard Palmer, and between Palmer and drug customers, dating from November 7, 2013,

through September 29, 2016. These text messages were included in a summary exhibit that was

provided to the Defendant on October 17, 2018, and were previously produced in discovery

during the summer of 2018. A copy of the summary exhibit is attached to this motion.

       Counsel for the United States does not know whether counsel for the Defendant intends

to file a written motion in limine to exclude these text messages. Because the Defendant has not

filed a written motion, the basis for his objection is not entirely known, however, the

Government anticipates that the Defendant will argue they should be excluded because they
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predate the period of the conspiracy charged in the indictment and are therefore not relevant or

because the text messages are evidence of other crimes subject to Federal Rule of Evidence

404(b) and would be offered to prove propensity to commit a crime, something the rule

prohibits. Both arguments are meritless. These text messages are admissible for the reasons

outlined below.

       A grand jury sitting in Baltimore charged the Defendant with conspiracy to distribute and

possess with intent to distribute heroin and cocaine. The indictment charges that the conspiracy

began “no later” than October 2016, and continued until “at least” June 26, 2017. Former

Baltimore Police Department Detective Jemell Rayam will testify that he brought Eric Snell

cocaine that had been stolen from an arrestee in Baltimore. Snell and Rayam then gave it to

Snell’s brother, Lenard Palmer, who had previously sold drugs, to sell. However, while the

conspiracy began “no later” than October 2016, Rayam and Snell’s relationship began much

earlier. Both men met at the Baltimore Police Academy in 2005 and became friends. Even after

Snell left the Baltimore Police Department in 2008, the two remained close; so much so, that

Rayam was Snell’s best man at his wedding. During this time period from 2005 until 2016,

Rayam also met Palmer, interacting with him socially with Snell. Further, Rayam will also

testify that when he and Snell were in the Baltimore Police Academy, Snell had told him that his

uncle, sold narcotics. Snell also told Rayam that Palmer also sold drugs. Further, in 2008, Snell

and Rayam agreed to have Snell, through his uncle, sell a large quantity of marijuana that Rayam

and another BPD officer had stolen from an arrestee. The only reason that transaction did not

occur was because the other officer had his own drug connect who was able to sell the marijuana.




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         Federal Rule of Evidence 404(b)(1) prohibits the introduction of evidence of “other crimes,

wrongs, or acts” for the purpose of proving that a person acted in a particular way on a particular

occasion based on the character or the disposition of that person. Fed.R.Evid. 404(b)(1) (emphasis

added). Evidence that is “intrinsic” to the alleged crime does not fall under Rule 404(b)’s

prohibition. See United States v. Chin, 83 F.3d 83, 87–88 (4th Cir. 1996) (“[W]e agree with the

other circuits that where testimony is admitted as to acts intrinsic to the crime charged, and is not

admitted solely to demonstrate bad character, it is admissible.”). 1 Moreover, “the mere fact that

the evidence involved activities occurring before the charged time frame of the conspiracy does

not automatically transform that evidence into ‘other crimes' evidence.” United States v. Bajoghli,

785 F.3d 957, 965–66 (4th Cir. 2015) quoting United States v. Kennedy, 32 F.3d 876, 885 (4th Cir.

1994). Evidence that “complete[s] the story of the crime” on trial is intrinsic, even if the evidence

predates the time period of the indictment. United States v. Cooper, 482 F.3d 658, 663 (4th Cir.

2007).

         Here the text messages to which the Defendant objects are intrinsic to the crimes charged

because they “complete the story.” The text messages between Palmer and his drug customers

demonstrate that Palmer was, in fact selling drugs, consistent with what Snell told Rayam and what

Rayam understood about the Palmer. The text messages between Snell and Palmer concern Snell

obtaining firearms and ammunition for Palmer which Palmer and his uncle used to protect their

drug trafficking operation. Thus, these text messages are intrinsic to the crimes charged.


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  Before Chin, the Fourth Circuit had not expressly stated that Rule 404(b) was inapplicable to intrinsic evidence.
The Court in Chin recognized that prior case law did however, demonstrate that the court had long “agree[d] with
much of the reasoning behind the rule [excluding intrinsic evidence from Rule 404(b)].” United States v. Chin, 83
F.3d 83, 88 (4th Cir. 1996) (citing United States v. Kennedy, 32 F.3d 876 (4th Cir. 1994) (holding that Rule 404(b)
is not applicable to evidence of crimes that arose out of the same series of transactions as the charged offense or that
are necessary to complete story of the charged crime)).
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       For the foregoing reasons, the text messages to which the Defendant intends to object are

admissible.




                                             Respectfully submitted,

                                             Robert K. Hur
                                             United States Attorney

                                         By: ______/s/_________________
                                            Derek E. Hines
                                            Leo J. Wise
                                            Assistant United States Attorneys

Date: October 28, 2018




                                CERTIFICATE OF SERVICE

       I hereby certify that this filing was served on defense counsel via ECF electronic filing.


                                                         By:___/s/__________________
                                                           Leo J. Wise
                                                           Assistant United States Attorney




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